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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                          CASE NUMBER


                                                                                       2:25-mj-3689
                                                     PLAINTIFF
                                 v.
PAUL RICHARD RANDALL                                                  NOTIFICATION RE: APPLICATION FOR BAIL
                                                                      REVIEW OR RECONSIDERATION OF ORDER
                                                                              SETTING CONDITIONS OF
                                                                             RELEASE OR DETENTION,
                                                   DEFENDANT.                     (18 U.S.C. §3142)

PLEASE TAKE NOTICE that the Request for Hearing on the Application for Review/Reconsideration of Order Setting
Conditions of Release/Detention:

     is approved. The matter is set on calendar for hearing before:

     District Judge

     Magistrate Judge Brianna Mircheff

on                                                          at                        a.m.      p.m.

in courtroom                                                                                       .

      is not approved.

      Other:

      An interpreter is     required    is not required. Language
      Defendant is      in custody     not in custody.

                                                   Clerk, U. S. District Court




Date                                       Deputy Clerk                                      Contact Phone Number

Notice is electronically made upon transmission of the Notice of Electronic Filing to the following agencies:
cc:   Probation       Interpreter’s Office  PSA.




             NOTIFICATION RE: APPLICATION FOR BAIL REVIEW OR RECONSIDERATION OF ORDER SETTING CONDITIONS OF
                                           RELEASE OR DETENTION, (18 U.S.C. §3142)
CR-88A (10/09)
